           Case 8:13-cr-00100-PWG Document 209 Filed 07/31/14 Page 1 of 3



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                                       July 31, 2014

VIA ECF & EMAIL
Hon. Paul W. Grim
United States District Court Judge
United States District Court for the District of Maryland
6500 Cherrywood Lane
Greenbelt, MD 20770

          Re: United States v. Ali Saboonchi, PWG-13-0100

Dear Judge Grimm:

       As counsel for Mr. Saboonchi in the above-referenced case, I submit this letter in support
of Mr. Saboonchi’s Motion to Compel Jencks Material (Dkt. No. 198), and in anticipation of FBI
Agent Abagnale’s trial testimony tomorrow.

         The specific purpose of this letter is to bring to the Court’s attention Jencks statements of
FBI Agent Abagnale (hereinafter “Agent Abagnale FBI 302”) which likely exist based on trial
testimony to date, but have not been produced to the defense. Each witness’s trial testimony as it
relates to the Government’s production of Agent Abagnale FBI 302s, will be discussed in turn:

     1) John Elgert
        Mr. Elgert testified that he had three meetings with government agents. He testified that
        Agent Abagnale was present and participated for two of the meetings which were both in-
        person meetings. In relation to Mr. Elgert, to date the Government has produced one
        Agent Abagnale FBI 302, and it concerns an interview conducted on March 29, 2012.

     2) Bea Greer-Wilson
        Ms. Greer-Wilson testified that she had four communications with the Government: a
        meeting with the prosecuting attorneys on the day of her trial testimony; a phone call
        with Agent Abagnale, and two phone calls with FBI Agent Damien Lewis. To date the
        Government has produced no Agent Abagnale FBI 302s concerning communications
        with Ms. Greer-Wilson.
         Case 8:13-cr-00100-PWG Document 209 Filed 07/31/14 Page 2 of 3



    3) Darrin Kellogg
       Mr. Kellogg testified that he had three telephone communications with Agent Abagnale
       since he was first contacted by the agent in 2012. He also testified that he met with the
       prosecuting attorneys the day of his testimony (unclear if Agent Abagnale was present).
       In relation to Mr. Kellogg, to date the Government has produced one FBI 302 drafted and
       signed by FBI Agent Lindsay Gorman, and it concerns a telephone interview of Mr.
       Kellogg on April 8, 2013.

    4) Yousef Nejati
       Mr. Nejati testified that he had four meetings with Agent Abagnale, and two meetings
       with the prosecuting attorneys. In relation to Mr. Nejati, to date the Government has
       produced one Agent Abagnale 302, and it concerns an interview conducted on March 12,
       2013.

    5) Patrick Gross
       Mr. Gross testified that he had three in-person meetings where Agent Abagale was
       present or conducted the interview, and an estimated ten (10) phone communications
       with Agent Abagnale. In relation to Mr. Gross, to date the Government has produced two
       Agent Abagnale FBI 302’s: one concerning an in-person interview on April 3, 2012; and
       the other concerning a telephone interview on May 10, 2012.

         In response to Mr. Saboonchi’s motion (Dkt. No. 198), the Court held a telephone
conference on July 25, 2014 with all parties, during which the Court provided the parties with
guidance as to what constitutes Jencks material under 18 U.S.C. § 3500. Based on that guidance,
it is the defense’s understanding that if Agent Abagnale will testify about subject matter reflected
in an Agent Abagnale FBI 302, then the Government is required to produce that FBI 302.

         Based on the trial testimony discussed above, the defense re-iterates its concern that the
Government has not produced all of the Agent Abagnale FBI 302s to which it is entitled pursuant
to 18 U.S.C. § 3500. 1 This concern is not limited to just the vendor transactions and other events
the witnesses identified above testified about, but the other vendor transactions and events for
which the Government did not present a witness in its case-in-chief. If Agent Abagnale is going
to testify about transactions and events which are reflected in an Agent Abagnale FBI 302, the
defense believes it is entitled to the statement pursuant to 18 U.S.C. § 3500 and the guidance the
Court provided on July 25, 2014. 2




1
  The Government previously produced redacted grand jury testimony of Agent Abagnale.
Following Agent Abagnale’s direct examination, the defense will ask that the Court to order the
Government to produce an unredacted transcript to the Court for in camera review to determine
if the redacted testimony needs to be produced to the defense ahead of cross-examination.
2
 On July 31, 2104, undersigned counsel requested by email that the Government produce
outstanding Jencks consistent with this letter. The Government has yet to respond.
       Case 8:13-cr-00100-PWG Document 209 Filed 07/31/14 Page 3 of 3



                                             Respectfully,

                                             -----------/s/-----------------

                                             Lucius T. Outlaw III
                                             Assistant Federal Public Defender

cc: AUSA Christine Manuelian (email & ECF)
   AUSA Kristi O’Malley (email & ECF)
